Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 1 of 8 PageID #: 84




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 BRANDON MORRIS                                        CIVIL ACTION NO. 3:19-cv-00266

 VERSUS                                                JUDGE TERRY A. DOUGHTY

 GRAPHIC PACKAGING                                     MAG. JUDGE KAREN L. HAYES
 INTERNATIONAL, LLC


                           MEMORANDUM IN SUPPORT OF
                         MOTION FOR SUMMARY JUDGMENT
                    BY GRAPHIC PACKAGING INTERNATIONAL, LLC


 MAY IT PLEASE THE COURT:

        Graphic Packaging International, LLC. (“GPI”), Defendant herein, has filed a motion for

 summary judgment as there is no genuine issue of material fact as to any matter that bears upon the

 issues in this litigation. As will be shown herein, the claims of the Plaintiff, Brandon Morris

 (“Morris”) and the Intervenor, Zurich American Insurance Company (“Zurich”), should be dismissed

 with prejudice as a matter of law.

                                               FACTS

        Morris has alleged that at the time of his purported injury he was in the course and scope of

 his employment with M. L. Smith, Jr., L.L.C. (“M L Smith”) (Petition, Paragraph 7). M. L. Smith

 had contracted with GPI for the construction of the replacement black liquor reclaim tank, and

 Morris was one of the workers on that project (Petition, Paragraphs 2, 3, 7 and 8; Affidavit of Peggy

 Gross, Exhibit A). Morris alleges that while working on that project he suffered chemical burns to

 his feet. Morris has alleged that those injuries were caused by the “fault and negligence of

 defendant, GRAPHIC PACKAGING INTERNATIONAL, LLC”. See Petition at Paragraphs 9, 10
Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 2 of 8 PageID #: 85




 and 11.1

          GPI has admitted that it did enter into a contract with M L Smith for the replacement of the

 black liquor reclaim tank and that such services were to be performed at GPI’s facility near West

 Monroe, Louisiana. GPI Answer at Paragraph 4. These services were being performed in the

 recovery area of GPI’s facility. The recovery area is the portion of the facility where the waste

 materials from making pulp from the kraft pulping process are processed in order to recover the

 pulping chemicals for reuse and to burn the remaining organic material for the production of steam

 and power for the GPI facility. Thus the recovery process has three benefits for GPI: (1) recovery

 for reuse of pulping chemicals, (2) recovering the chemicals and reducing effluent to make the

 process more environmentally safe, and (3) production of steam and power for use in the production

 process. See generally, Affidavit of Kenneth Robert Meissner (“Meissner Affidavit”).

          The kraft recovery process is an integral part of the kraft pulp process which allows the paper

 mill to produce liner board, carton board, corrugated medium and other products economically and

 with as little impact to the environment as possible. The kraft pulping process has been in use since

 the late 1800's and the recovery process has enhanced the ability to produce paper products in kraft

 paper mills since the 1920's. See generally, Meissner Affidavit.

          The contract between GPI and M L Smith included a provision which specifically made GPI

 the statutory employer of the employees of M L Smith under the provisions of La. R.S.

 23:1061(A)(3). See Affidavit of Peggy Gross, Exhibit A, General Terms and Conditions, Section

 13. As the statutory employer of Morris, GPI is entitled to the benefits of the immunity from suit


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          Morris has alleged that his injuries were substantially certain to have occurred in an attempt to plead an
 exception to the worker’s compensation exclusivity rule be claiming an intentional act, however, there are no facts
 plead by Morris that constitute any such claim, and no such facts can be plead in this matter.

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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 3 of 8 PageID #: 86




 from its statutory employees under the exclusive remedy provisions provided by La. R.S. 23:1032

 and therefore summary judgment should be granted and this matter dismissed with prejudice as to

 Morris and Zurich.

                                    LAW AND ARGUMENT

 A.     SUMMARY JUDGMENT STANDARDS

        This Court has previously stated the standard for summary judgment motions as follows:

                       Summary judgment "should be rendered if the pleadings, the
               discovery and disclosure materials on file, and any affidavits show
               that there is no genuine issue as to any material fact and that the
               movant is entitled to judgment as a matter of law." Fed.R.Civ.P.
               56(c)(2). The moving party bears the initial burden of informing the
               court of the basis for its motion by identifying portions of the record
               which highlight the absence of genuine issues of material fact.
               Topalian v. Ehrmann, 954 F.2d 1125, 1132 (5th Cir.1992). A fact is
               "material" if proof of its existence or nonexistence would affect the
               outcome of the lawsuit under applicable law in the case. Anderson v.
               Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute about a
               material fact is "genuine" if the evidence is such that a reasonable fact
               finder could render a verdict for the nonmoving party. Id.

                      If the moving party can meet the initial burden, the burden
               then shifts to the nonmoving party to establish the existence of a
               genuine issue of material fact for trial. Norman v. Apache Corp., 19
               F.3d 1017, 1023 (5th Cir.1994). The nonmoving party must show
               more than "some metaphysical doubt as to the material facts."
               Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.
               574, 586 (1986). In evaluating the evidence tendered by the parties,
               the Court must accept the evidence of the nonmovant as credible and
               draw all justifiable inferences in its favor. Anderson, 477 U.S. at 255.

 Pettiford v. Graphic Packaging International, Inc., Civil Action No. 12-2883, 2013 WL 5303640 (W.

 D. La. September 20, 2013).

 B.     MORRIS CANNOT ESTABLISH ANY GENUINE ISSUE OF MATERIAL FACT

        In its Answer, GPI in its Third Affirmative Defense, has alleged that GPI is the statutory



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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 4 of 8 PageID #: 87




 employer of Morris, and as such, is immune from suit by Morris (and Zurich which derives its rights

 through Morris) under the exclusive remedy provisions of the Louisiana Workers’ Compensation

 Law, La. R.S. 23:1020.1, et seq. As the statutory employer of Morris, the provisions of La. R.S.

 23:1032 and 23:1061 make the worker’s compensation provisions the sole remedy for Morris, and

 he is not entitled to bring an action in tort against GPI.

         La. R.S. 23:1032 (A)(1)(a) provides that except for intentional acts (for which no facts have

 been alleged in this matter), a worker’s remedies under the Louisiana Workers’ Compensation Law

 are “exclusive of all other rights, remedies and claims for damages, ... against his employer, or any

 principal or any officer, director, stockholder, partner, or employee of such employer or principal,

 for said injury, or compensable sickness or disease.”

         La. R.S. 23:1032(A)(2) defines a “principal” as:

                 For purposes of this Section, the word "principal" shall be defined as
                 any person who undertakes to execute any work which is a part of his
                 trade, business, or occupation in which he was engaged at the time of
                 the injury, or which he had contracted to perform and contracts with
                 any person for the execution thereof.

         La. R.S. 23:1061 sets forth the protections provided to a “principal” by the Louisiana

 Workers’ Compensation Law, and in particular provides for a statutory employer relationship which

 makes a “principal” the beneficiary of the exclusive remedy provisions. In particular, La. R.S.

 23:1061 (A)(3) provides:

                 (3) Except in those instances covered by Paragraph (2) of this
                 Subsection, a statutory employer relationship shall not exist between
                 the principal and the contractor's employees, whether they are direct
                 employees or statutory employees, unless there is a written contract
                 between the principal and a contractor which is the employee's
                 immediate employer or his statutory employer, which recognizes the
                 principal as a statutory employer. When the contract recognizes a
                 statutory employer relationship, there shall be a rebuttable
                 presumption of a statutory employer relationship between the


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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 5 of 8 PageID #: 88




                   principal and the contractor's employees, whether direct or statutory
                   employees. This presumption may be overcome only by showing that
                   the work is not an integral part of or essential to the ability of the
                   principal to generate that individual principal's goods, products, or
                   services.

 Emphasis supplied.

          As set forth in the uncontested facts, the contract between GPI and M L Smith for the work

 to be performed on the black liquor reclaim tank included a specific provision that recognized that

 for work being performed in Louisiana, that GPI would be considered to be the statutory employer

 of the employees of M L Smith under La. R.S. 23:1061 (A)(3). Therefore under the provisions of

 the contract between M L Smith and GPI, GPI, as the statutory employer of M L Smith’s personnel

 (including Morris) would be immune from suit from such employees under La. R.S. 23:1032

 (A)(1)(a).2

          The provisions of La. R.S. 23:1061 (A)(3) establishes a rebuttable presumption that may only

 be overcome by a “showing that the work is not an integral part of or essential to the ability of the

 principal to generate that individual principal’s goods, products or services.” Thus, once there is a

 showing that the contract between GPI and M L Smith has the provision contemplated by §1061

 (A)(3), the burden then shifts to the plaintiff to show the work he was performing was not an integral

 part of or essential to GPI. Morris cannot do this in this matter.

          It is of further note, that this issue has been addressed by this Court with GPI previously,

 although with different contractors, but construing the exact same GPI contract language. In

 Pettiford v. Graphic Packaging International, Inc., Civil Action No. 12-2883, 2013 WL 5303640 (W.


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           Except for intentional acts provided for in Subsection B, the rights and remedies herein granted to an
 employee or his dependent on account of an injury, or compensable sickness or disease for which he is entitled to
 compensation under this Chapter, shall be exclusive of all other rights, remedies, and claims for damages, ... as
 against his employer, or any principal or any officer, director, stockholder, partner, or employee of such employer
 or principal, for said injury, or compensable sickness or disease. Emphasis supplied.

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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 6 of 8 PageID #: 89




 D. La. September 20, 2013) this Court recognized its prior decisions and upheld the GPI contract

 language stating:

                              This Court has previously acknowledged that Section 13 of
                     GPI's Terms recognizes GPI as a statutory employer of its contractors'
                     direct employees. See Nielsen v. Graphic Packaging Int'l, Inc., Civil
                     Action No. 09–1757, 2011 WL 2462496 (W.D. La. June 17, 2011)
                     aff'd, 469 F. App'x 305 (5th Cir.2012) (finding that identical language
                     in a GPI Purchase Order was sufficient to recognize a statutory
                     employment relationship) and Gilbreath v. Averitt Express, Inc., Civil
                     Action No. 09–1922, 2011 WL 121892 (W.D.La. Jan. 13, 2011)
                     (same).

 Id. at page 3. See also Phillips v Graphic Packaging International, LLC, Civil Action No. 12-2850,

 2013 WL 5375883 (W.D. La. Sept. 24, 2013).

         As shown by the Affidavit of Kenneth Robert Meissner filed with GPI’s Motion for

 Summary Judgment, the black liquor reclaim tank (which was being replaced) is an essential part

 of the continuous kraft pulping recovery process which is required in order to produce the coated

 paperboard and other products economically and to the quality specifications required by GPI’s

 customers.3 Without the recovery process, of which the black liquor reclaim tanks are an essential

 part, GPI would not be able to economically produce its products for its customers in an

 environmentally safe process. Thus the work being performed by Morris was “an integral part of

 and essential” to GPI’s ability to generate its products and GPI is entitled to the protections of the

 exclusive remedy provision.4

                                                 CONCLUSION

         As set forth above, it is clear that GPI is the statutory employer of Plaintiff, Brandon Morris,


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           As shown in the Meissner Affidavit at Paragraph 7, GPI produces 2,100 tons (4,200,000 pounds) of black
 liquor per day which must be processed for the recovery of pulping chemicals, reduction of effluent, and production
 of steam and power for the plant process.
         4
             La. R.S. 23:1061 A. (3).

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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 7 of 8 PageID #: 90




 under the contract between GPI and M L Smith, Morris’ direct employer. Morris (and Zurich) is

 unable to rebut the presumption that the work being performed by him at the time of the alleged

 incident was not an integral part of or essential to the ability of GPI to generate it’s goods, products

 or services. Accordingly, there is no genuine issue of fact with regard to GPI’s entitlement to the

 protections of the exclusive remedy provisions of the Louisiana Workers’ Compensation Law, and

 GPI is entitled to judgment dismissing all of the claims of Brandon Morris and Zurich American

 Insurance Company with prejudice and at the cost of Brandon Morris and Zurich American

 Insurance Company.

                                                         Respectfully submitted,

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Case 3:19-cv-00266-TAD-KLH Document 17-4 Filed 09/10/19 Page 8 of 8 PageID #: 91




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing Memorandum
 in Support of Motion for Summary Judgment by Graphic Packaging International, LLC was filed
 electronically and served by operation of the Court’s CM/ECF system on this 10th day of September,
 2019, on the following counsel of record:

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